
693 N.W.2d 19 (2005)
2005 ND 45
In the Matter of the Application for DISCIPLINARY ACTION AGAINST Thomas K. SCHOPPERT, a Person Admitted to the Bar of the State of North Dakota.
Disciplinary Board of the Supreme Court of the State of North Dakota, Petitioner,
v.
Thomas K. Schoppert, Respondent.
No. 20050058.
Supreme Court of North Dakota.
February 28, 2005.


*20 DISBARMENT ORDERED
PER CURIAM.
[¶ 1] Thomas K. Schoppert was admitted to practice as an attorney at law in the courts of North Dakota on July 19, 1972, and his name has appeared on the roll of attorneys since that date. On April 2, 2003, Schoppert was placed on interim suspension under N.D.R. Lawyer Discipl. 4.1D for conviction of a serious crime, namely four counts of attempt to evade or defeat tax in violation of 26 U.S.C. § 7201. See, Disciplinary Board v. Schoppert, 2003 ND 54, 658 N.W.2d 767. The interim suspension was to remain in effect pending final disposition of the disciplinary proceeding predicated upon the conviction.
[¶ 2] On April 14, 2003, Schoppert admitted service of a Summons and Petition for Discipline. The Petition asserts that Schoppert's conviction of four counts of attempt to evade or defeat tax in violation of 26 U.S.C. § 7201 violates N.D.R. Lawyer Discipl. 1.2 and is grounds for discipline.
[¶ 3] On February 1, 2005, Schoppert signed a Stipulation and Consent to Discipline, acknowledging the material facts are true and cannot be successfully defended. Schoppert admits that the stipulation is given freely and voluntarily and without coercion or duress. Schoppert further agrees to discipline in the form of disbarment and the payment of costs in the amount $250.
[¶ 4] This matter was submitted to a Hearing Panel of the Disciplinary Board under N.D.R. Lawyer Discipl. 4.2. The Report of the Hearing Panel was filed February 16, 2005. The Hearing Panel found that Schoppert was convicted of four counts of attempt to evade or defeat tax in violation of 26 U.S.C. § 7201 for which he received a sentence that included imprisonment for a term of twenty-four months. The Hearing Panel concluded that Schoppert's conviction of a serious crime within the meaning of N.D.R. Lawyer Discipl. 4.1 is a violation of N.D.R. Lawyer Discipl. 1.2 which provides that a lawyer may be disciplined for committing a criminal act that reflects adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer. The Hearing Panel recommended Schoppert be disbarred and pay costs of $250.
[¶ 5] The Report of the Hearing Panel was referred to the Supreme Court under N.D.R. Lawyer Discipl. 3.1F(2). The Court considered the matter, and
[¶ 6] ORDERED, the Report of the Hearing Panel and the Stipulation and Consent to Discipline are accepted, and Thomas K. Schoppert is DISBARRED from the practice of law.
*21 [¶ 7] FURTHER ORDERED, Thomas K. Schoppert pay the costs and expenses of these disciplinary proceedings in the amount of $250, payable to the Secretary of the Disciplinary Board.
[¶ 8] GERALD W. VANDE WALLE, C.J., WILLIAM A. NEUMANN, DALE V. SANDSTROM, MARY MUEHLEN MARING, and CAROL RONNING KAPSNER, JJ., concur.
